                            Case 17-19455-MAM                        Doc 326     Filed 10/03/17      Page 1 of 1


                                                      United States Bankruptcy Court
                                                             Southern District of Florida
 In re    Chariots of Palm Beach, Inc.                                                               Case No.      17-19455
                                                                             Debtor(s)               Chapter       11



                                     RULE 1019 SCHEDULE OF POST PETITION DEBTS


   Creditor name and mailing address                                           Category of Claim                              Amount of Claim
   1.     Mackail & Sterling, CPA's & Associates                               Unsecured claims                                         903.60*
          636 U.S. Highway One
          Suite 118
          North Palm Beach, FL 33408                                                                            *Invoice for records produced
                                                                                                                    in response to request for
                                                                                                                     production of documents

                                                                     DECLARATION

I, the above named Debtor(s), declare under penalty of perjury that I have read the foregoing Rule 1019
Schedule of Post Petition Debts and that it is true and correct to the best of my information and belief.

Date October 3, 2017                                             Signature   /s/ Charles Sharoubim
                                                                             Charles Sharoubim
                                                                             President

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
